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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                        TYLER DIVISION


 UNITED STATES OF AMERICA                         §

 V.                                               §       CASE NO. 6:16cr17

 TIMOTHY PAUL MORALES (06)                        §

                     ORDER ADOPTING THE REPORT AND RECOMMENDATION
                         OF THE UNITED STATES MAGISTRATE JUDGE


          By order, the undersigned referred this matter to the Honorable John D. Love, United States

 Magistrate Judge, at Tyler, Texas, for administration of a guilty plea under Rules 11 and 32 of the Federal

 Rules of Criminal Procedure. Judge Love conducted a hearing in the form and manner prescribed by Federal

 Rule of Criminal Procedure 11 and the Honorable John D. Love issued his Report and Recommendation of

 the United States Magistrate Judge [Clerk’s doc. #179]. The Magistrate Judge recommended that the Court

 accept Defendant’s guilty plea and conditionally approve his plea agreement. He further recommended that

 the undersigned finally adjudge Defendant as guilty on Count Eight of the Indictment against Defendant

 in this cause.

          The parties have not objected to the magistrate judge’s findings. The Court is of the opinion that

 the Report and Recommendation should be accepted. It is accordingly ORDERED that the Report and

 Recommendation [Clerk’s doc. #179] of the United States Magistrate Judge is ADOPTED.

          It is further ORDERED that the Defendant’s guilty plea is accepted and approved by the Court.

 Further, the plea agreement is approved by the Court, conditioned upon a review of the presentence report.

 It is finally ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant

 GUILTY of Count Eight of the Indictment in the above-numbered cause and enters a JUDGMENT OF

 GUILTY against the Defendant as to Count Eight of the Indictment.

      So Ordered and Signed
      Dec 19, 2016
